Case 6:20-cv-06125-EAW Document 1-1 Filed 03/02/20 Page 1of1

JS 44 (Rev. 08/18)

The JS 44 civil cover sheet and the information contained herein neither re;
provided by local rules of court. This form, approved by the Judicial C

CIVIL COVER SHEET

purpose of initiating: the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

lace nor supplement the filing and service of pleadings or other papers as required by law, except as
erence of the United States in September 1974, is required for the use of the Clerk of Court for the

 

I. (a) PLAINTIFFS

Theodore Wilczynski

(b) County of Residence of First Listed Plaintiff

Northfolk County, VA

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
DeSimone & Associates, LLC
745 5th Avenue - Suite 500
New York, New York 10151 (646) 776-7425

DEFENDANTS

NOTE:

Attorneys (If Known)

 

County of Residence of First Listed Defendant

Gates Community Chapel of Rochester, Inc. d/b/a Freedom Village
USA, and Fletcher A. Brothers (aka Pastor Brothers).

Yates County, NY

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

ll. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

1. U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 © 1 Incorporated or Principal Place Ba 4
of Business In This State
O 2 U.S. Government 44 Diversity Citizen of Another State %2 02 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O3 OF 3 Foreign Nation go6 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
fiz CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY [OTHER STATUTES |
© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure © 422 Appeal 28 USC 158 375 False Claims Act
(3 120 Marine 11 310 Airplane (1 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal CO 376 Qui Tam (31 USC
130 Miller Act © 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729%a))
O 140 Negotiable Instrament Liability 367 Health Care/ | © 400 State Reapportionment
© 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS | 410 Antitrust
& Enfc of Judg: Sland Personal Injury 820 Copyrights O 430 Banks and Banking
CI 151 Medicare Act ( 330 Federal Employers’ Product Liability 830 Patent O 450 Commerce
1 152 Recovery of Defaulted Liability 368 Asbestos Personal G 835 Patent - Abbreviated 1 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) G 345 Marine Product Liability (1 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL | 480 Consumer Credit
of Veteran’s Benefits 1 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards C1 861 HIA (1395£/) 1 485 Telephone Consumer
(1 160 Stockholders” Suits © 355 Motor Vehicle 0 371 Truth m Lending Act 7 862 Black Lung (923) Protection Act
© 190 Other Contract Product Liability © 380 Other Personal 1 720 Labor/Management G 863 DIWC/DIWW (405(g)) | 490 Cable/Sat TV
1 195 Contract Product Liability 9 360 Other Personal Property Damage Relations 1 864 SSID Title XVI 1 850 Securities/Commodities/
196 Franchise Injury 1 385 Property Damage (0 740 Railway Labor Act OF 865 RSI (405(g)) Exchange
(0 362 Personal Injury - Product Liability G 751 Family and Medical (3 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts

 

L REAL PROPERTY
© 210 Land Condemnation

CIVIL RIGHTS
G 440 Other Civil Rights

 

PRISONER PETITIONS
Habeas Corpus:

 

OC 790 Other Labor Litigation
© 791 Employee Retirement

FEDERAL TAX SUITS
G 870 Taxes (U:S. Plaintiff

 

 

 

© 893 Environmental Matters
895 Freedom of Information

 

 

 

O 220 Foreclosure C441 Voting 1 463 Alien Detainee Income Security Act or Defendant) Act
230 Rent Lease & Ejectment 442 Employment © 510 Motions to Vacate © 871 IRS—Third Party 896 Arbitration
G 240 Torts to Land OC 443 Housing/ Sentence 26 USC 7609 OC 899 Administrative Procedure
245 Tort Product Liability Accommodations 530 General Act/Review or Appeal of
290 All Other Real Property (1 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION Agency Decision
Employment Other: © 462 Naturalization Application O 950 Constitutionality of
© 446 Amer. w/Disabilities -]| 1 540 Mandamus & Other | [9 465 Other Immigration State Statutes
Other (7 550 Civil Rights Actions
O 448 Education G 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Piace an “X” in One Box Only)
G1 Original 2 Removed from G 3 Remanded from G 4 Reinstatedor © 5 Transferred from © 6 Multidistrict OG 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

See eS. Spaselye under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

‘BISIMtEP WAS Sou

V abused by defendants causing plaintiff severe physical and emotional harm.

 

VII. REQUESTED IN

O CHECK IF THIS

IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — @®) Yes °
Vill. RELATED CASE(S) -
IF ANY earn DOCKET NUMBER _
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AAS 4
FOR OFFICE USE ONLY ee a
RECEIPT # AMOUNT APPLYING IFP JUDGE

MAG, JUDGE
